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UNITED STATES DISTRICT COURT
SOUTRERN DISTRICT OF NEW YORK

 

 

 

 

 

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UNITED STATES OF AMERICA, : 20cr305 (DLC)
-y- : ORDER

ADRIAN ALFARO DIAZ, : USDC spny

Defendant. : DOCUMENT

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DENISE COTE, District Judge: | DATE FILED: A\olpck

 

 

 

 

Criminal jury trials have resumed in the Southern District
of New York. Jury trials are being conducted in compliance with
the safety procedures implemented in this district. In order to
comply with those safety procedures, jury trials require complex
planning and coordination. This district is currently planning
to accommodate criminal jury trials that should occur between
January and March 2021.

The trial in this case is scheduled to occur on January 19,
2021. It is anticipated that, should the defendant wish to
resolve the charges by entering a plea of guilty, he will confer
with the Government and arrange with the Court to enter a plea
no later than three-weeks before the date scheduled for trial.

It is hereby

 
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ORDERED that defense counsel shall advise the Court by
November 6, 2020 whether the defendant currently intends to
proceed to trial.

Dated: New York, New York
October 16, 2020

Whew bee
DENISE COTE
United Statds District Judge

 
